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The NewYorkTimes
Company
                                            CHAMBERS OF
                                         JUDGE SIDNEY H. STEIN
                                                U.S.D.J.



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                            January 11, 2024
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620 8th Avenue
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nytimes .com                The Honorable Sidney H. Stein
                            Daniel Patrick Moynihan
                            United States Courthouse
                            500 Pearl Street
                            New York, NY 10007-1312

                            Re:        United States v. Menendez, No. 23-cr-490-SHS - Request to Unseal

                            Dear Judge Stein:

                            I write on behalf of The New York Times Company ("The Times") to
                            seek an order unsealing certain records filed on January 10, 2024 by
                            defendant Senator Robert Menendez in the above-referenced proceedings. 1
                            Specifically, The Times asks that the Court order to be unredacted or
                            unsealed Sen. Menendez' s Memorandum of Law in Support of His First
                            Motion to Dismiss, the declaration filed in support of the motion, and
                            exhibits thereto. See Dkts. 120-24.

                            If Your Honor prefers, we are prepared to move by formal motion to
                            intervene and seek the unsealing. We make this request pursuant to the
                            public's right of access to judicial records, grounded in both the federal
                            common law and the First Amendment. 2

                                  I.      Background

                            This case concerns the prosecution of a sitting United States Senator on
                            charges that he accepted bribes in exchange for exerting influence on

                            1
                              The Times notes that by a letter dated January 10, 2024, Inner City Press
                            also has petitioned for unsealing of the records. Dkt. 125.
                            2
                              The right of access is an affirmative, enforceable public right, and the
                            standing of the press to enforce it is well settled. See, e.g. , Globe Newspaper
                            Co. v. Super. Ct., 457 U.S. 596, 609 n.25 (1982); Hartford Courant Co. v.
                            Pellegrino, 380 F.3d 83 , 91 (2d Cir. 2004).
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         behalf of two foreign powers. The Times and other news organizations
         have appropriately devoted significant resources to reporting on this
         important case and its broader implications. 3

         The specific records at issue here relate to Sen. Menendez's motion to
         dismiss the Second Superseding Indictment. Dkt. 115. In moving to
         dismiss, Sen. Menendez argues his actions were not "official acts" and
         therefore were not illegal, that his conduct was protected by the legislative
         independence embedded in the Constitution's "speech or debate" clause,
         and that permitting this prosecution to proceed would disrupt the
         separation of powers and open the door to politically motivated
         prosecutions of legislators. These issues obviously are of substantial
         public concern. See Dkt. 120

         Sen. Menendez also has accused government prosecutors of hiding "key
         exculpatory evidence from the public's and the court's view." Id. at 3.
         These are significant accusations, also implicating the public's interest in
         exercising democratic oversight of the justice system and public officials.

         In making these arguments, Sen. Menendez apparently relies on Brady
         materials produced to him by the Government. Although the contents of
         those materials are at the heart of his dispositive motion, any description
         of their contents is redacted and the records themselves are under seal. See
         Dkt. 120, pp. 5, 7, 8, 10, 11, 26, 31, 33; Dkt. 121, para. 3; Dkts. 122-24.

         For example, page 5 of the Motion to Dismiss redacts a description of an
         "exculpatory fact" about the Senator's 2021 trip to Egypt, which he argues
         "exposes" why the charges violate the Constitution. On p. 8, Sen.
         Menendez appears to describe a statement by a "key State Department
         official" that shows he was acting "consistent with what the Biden
         Administration sought" and contrary to Egypt's interests. Sen. Menendez
         asserts that the government omitted this information to create a "false
         narrative" and mislead the court and the public. On pages 10 and 11, Sen.
         Menendez claims there is a "shocking omission" from the indictment that
         is fatal to one of the charges, but that omission is entirely redacted.



         3
          See, e.g., Benjamin Weiser, et al., Menendez Accused of Brazen Bribery
         Plot, Taking Cash and Gold, N.Y. Times (Sept. 22, 2023),
         http://tinyurl.com/unwr6sjc; Tracey Tully, What We Know About the
         Menendez Bribery Case, N.Y. Times (Jan. 4, 2024),
         http://tinyurl.com/y4e7ewry; Benjamin Weiser and Tracey Tully,
         Menendez Lashed Out in the Senate. Now, He's Fighting Back in Court.,
         N.Y. Times (Jan 10, 2024), http://tinyurl.com/2dup92xy.


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             II.    Argument

         As part of our national commitment to democratic government, it is well-
         settled that there is a First Amendment and common law right of access to
         judicial records and proceedings. This is because "public monitoring of the
         judicial system fosters the important values of quality, honesty, and
         respect for our legal system." Siedle v. Putnam Invs. , Inc., 147 F.3d 7, 9-
         10 (1st Cir. 1998) (cleaned up). See also Globe Newspaper Co. v. Superior
         Court, 457 U.S. 596,606 (1982).

             1. The Common Law Right of Access Requires Unsealing

         Second Circuit law governing the public's common law right of access to
         judicial records is well established. Any "judicial document" is subject to a
         presumption of access. Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110,
         119 (2d Cir. 2006). This includes prompt access to dispositive pretrial
         motion papers and their supporting exhibits. Id. at 121.

         The weight of the presumption of access turns on the nature of the specific
         document at issue, taking into account "the role of the material at issue in
         the exercise of Article III judicial power and the resultant value of such
         information to those monitoring the federal courts." Id. at 119 (quoting
         United States v. Amodeo, 71 F.3d 1044, 1049 (2d Cir. 1995)) (internal
         marks omitted). Once the court has determined the weight of that
         presumption, it must then balance the value of public disclosure against
         "countervailing factors." Bernstein v. Bernstein Litowitz Berger &
         Grossmann LLP, 814 F.3d 132, 143 (2d Cir. 2016).

                    a. The presumption of access here is particularly weighty

         The Second Circuit has "consistently held that documents filed in criminal
         cases used to determine a litigant's substantive legal rights are judicial
         documents." United States v. Donato, 714 F. App'x 75 , 76 (2d Cir. 2018).
         See also United States v. Wolfson, 55 F.3d 58, 61 (2d Cir. 1995) ("[T]he
         public's common-law right .. . extend[s] to documents considered by the
         court in orders disposing of substantive pretrial motions."). And even
         where "discovery materials may be [otherwise] subject to a protective"
         order, the documents will become "presumptively accessible under the
         First Amendment and/or the common law if they later become judicial
         documents." United States v. Smith, 985 F. Supp. 2d 506, 525-26
         (S.D.N.Y. 2013) (citations omitted). Under Lugosch, dispositive motion




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         papers and their supporting exhibits "should not remain under seal absent
         the most compelling reasons." 435 F.3d at 121 (citation omitted).

         The public interest in openness is particularly high in this case. The
         records at issue relate to the prosecution of a United States Senator, in a
         case alleging that he accepted bribes from foreign powers. The public has
         a particularly strong interest in transparency and oversight of the
         prosecution of such crimes. The records also relate to allegations of
         prosecutorial misconduct and unconstitutional overreach. Again, the
         public has a legitimate interest in understanding the merits of such claims.
         Whatever the outcome of the motion to dismiss, it will have significant
         implications in our democratic system.

                     b. Countervailing factors do not overcome the presumption of
                        access

         The records therefore must be released unless countervailing interests
         require withholding.       Lugosch, 435 F.3d at 119. Typically, the
         "countervailing factors" that can overcome the presumption of access to a
         judicial document are "the danger of impairing law enforcement or judicial
         efficiency" and "the privacy interests of those resisting disclosure."
         Bernstein, 814 F .3d at 143. Neither factor appears to have significant weight
         here. First, any risk of impairing law enforcement interests is minimal
         because the Government already has disclosed the sealed materials to the
         defendant. Second, the legitimate privacy interests in the records appear
         negligible or nonexistent. The records apparently relate to Sen. Menendez's
         political activities and to government witnesses' statements about public
         affairs, not records of a personal or intimate nature. See, e.g., Bernsten v.
         O'Reilly, 307 F. Supp. 3d 161, 170 (S.D.N.Y. 2018) (assertion of
         "generalized 'privacy interests'" insufficient to overcome presumption of
         access).

             2. The First Amendment Requires Unsealing

         The sealed Records also are subject to a First Amendment right of access.
         The right attaches to a large array of judicial records and gives the public a
         constitutional right to inspect those records, absent a showing of an
         overriding public interest that justifies sealing. See, e.g., Lugosch, 435
         F.3d at 124 (common law and constitutional right to judicial documents in
         civil case); United States v. Suarez, 880 F.2d 626,630 (2d Cir. 1989)
         (First Amendment right to documents in a criminal case).

         It is well settled that a strong presumption of access attaches under the
         First Amendment to dispositive motions filed in criminal proceedings. For


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         the same reasons set forth above in respect to the common law right, the
         First Amendment right of access to the records is not overcome by any
         countervailing interest. Where the First Amendment applies, it can be
         "overcome only by an overriding interest based on finding that [sealing] is
         essential to preserve higher values and is narrowly tailored to serve that
         interest." Press-Enterprise Co. v. Superior Court of California, 464 U.S.
         501,510 (1984). That is a heavier burden than the one imposed by the
         common law. Lugosch, 435 F.3d at 126.

         For all of the foregoing reasons, The Times respectfully requests that the
         Materials be made public or, alternatively, that the Government and Sen.
         Menendez be required to demonstrate why the records should remain
         under seal. Should they seek to do so, The Times respectfully requests an
         opportunity to reply and otherwise be heard.

          We thank the Court for its consideration of this matter.

         Respectfully submitted,




         Dana Green




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